Filed 04/08/19                                                                           Case 19-21469                                                                                               Doc 20
     Fill in this information to identify your case:

     Debtor 1                   Santo R. Avalos
                                First Name                           Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number           19-21469-D-7
     (if known)
                                                                                                                                                                      Check if this is an
                                                                                                                                                                         amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $                      0.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              40,260.64

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $              40,260.64

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                       Your liabilities
                                                                                                                                                                       Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $              19,438.88

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $              24,533.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $              68,668.76


                                                                                                                                         Your total liabilities $                  112,640.64


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 4,321.55

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 4,319.99

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

              Yes
     7.     What kind of debt do you have?

                   Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

             Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
     Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
Filed 04/08/19                                                             Case 19-21469                                                                  Doc 20
     Debtor 1      Santo R. Avalos                                                            Case number (if known) 19-21469-D-7

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $       5,263.68


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            24,533.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

           9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $                 0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


           9g. Total. Add lines 9a through 9f.                                                           $             24,533.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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Filed 04/08/19                                                                        Case 19-21469                                                                     Doc 20
     Fill in this information to identify your case and this filing:

     Debtor 1                 Santo R. Avalos
                              First Name                        Middle Name                     Last Name

     Debtor 2
     (Spouse, if filing)      First Name                        Middle Name                     Last Name


     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number           19-21469-D-7                                                                                                         Check if this is an
                                                                                                                                                    amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                          12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes.      Where is the property?

     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes

      3.1      Make:       Ford                                                                                       Do not deduct secured claims or exemptions. Put
                                                                   Who has an interest in the property? Check one
                                                                                                                      the amount of any secured claims on Schedule D:
               Model:      Fusion SE                                Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
               Year:       2012                                     Debtor 2 only                                    Current value of the      Current value of the
               Approximate mileage:               130000            Debtor 1 and Debtor 2 only                       entire property?          portion you own?
               Other information:                                   At least one of the debtors and another

                                                                    Check if this is community property                       $5,500.00                    $5,500.00
                                                                         (see instructions)



      3.2      Make:       Cadillac                                                                                   Do not deduct secured claims or exemptions. Put
                                                                   Who has an interest in the property? Check one
                                                                                                                      the amount of any secured claims on Schedule D:
               Model:      Escalade                                 Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
               Year:       2005                                     Debtor 2 only                                    Current value of the      Current value of the
               Approximate mileage:               200000            Debtor 1 and Debtor 2 only                       entire property?          portion you own?
               Other information:                                   At least one of the debtors and another
              Non Op Status
                                                                    Check if this is community property                       $5,500.00                    $5,500.00
                                                                         (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



    Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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Filed 04/08/19                                                                   Case 19-21469                                                                                Doc 20
     Debtor 1       Santo R. Avalos                                                                                     Case number (if known)      19-21469-D-7

     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>             $11,000.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
        No
         Yes.     Describe.....

                                        Basic Household goods and furnishings, Mainly:
                                        Couch, Coffee Table, End Table, Beds, dining set
                                        Dressers, Misc. Wall Decor, Small Kitchen
                                        Appliances, Eating Utinsels, desk Washer & Dryer,
                                        Refridgerator, Groceries, lamps, linen, Chairs, Bookcases, nick
                                        nacks, books, vacuum cleaner, household cleaning supplies.
                                        Garden tools
                                        No Mini Storage Locker: , Not one item valued more than $550                                                                $2,150.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
        No
         Yes.     Describe.....

                                        Mainly Television. DVD, Stereo, Blue Ray Stuff, Laptop Computer
                                        Desktop computer Cell phones, Tablet Computer,                                                                                $545.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
         No
         Yes. Describe.....
    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
         No
         Yes. Describe.....
    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         No
         Yes. Describe.....
    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
         Yes.     Describe.....

                                        Clothing, Shoes, Sunglasses,                                                                                                  $215.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
         Yes.     Describe.....



    Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 2
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     Debtor 1          Santo R. Avalos                                                                                          Case number (if known)   19-21469-D-7


                                                Misc. Jewelry, Wedding Rings from prior marriage                                                                         $1,000.88


    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
         No
         Yes. Describe.....
    14. Any other personal and household items you did not already list, including any health aids you did not list
         No
         Yes. Give specific information.....

     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                           $3,910.88


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
         Yes................................................................................................................
                                                                                                                                   Currency                                  $16.00


    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each.
        No
        Yes........................                                     Institution name:


                                                  17.1.       Checking                               Wells Fargo, approximate balance on 3-11-19                           $587.00



                                                  17.2.       Savings                                Wells Fargo, approximate balance on 3-11-19                               $0.00


    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         No
         Yes..................                             Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
         No
         Yes. Give specific information about them...................
                                                      Name of entity:                                                            % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
         No
         Yes. Give specific information about them
                                                      Issuer name:




    Official Form 106A/B                                                                     Schedule A/B: Property                                                            page 3
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Filed 04/08/19                                                               Case 19-21469                                                                         Doc 20
     Debtor 1       Santo R. Avalos                                                                          Case number (if known)      19-21469-D-7
    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
         Yes. List each account separately.
                                          Type of account:                   Institution name:

                                          401(k)                             Opened October 2016~~, through
                                                                             employment Family @ Resoruce & Referral
                                                                             Center                                                                      $4,400.88


    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                               Institution name or individual:


                                          Rental deposit                     Landlord Security Deposit                                                   $1,695.00


    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
         No
         Yes.............          Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
         No
         Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
         No
         Yes. Give specific information about them...
    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
         No
         Yes. Give specific information about them...
    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
         Yes.     Give specific information about them...

                                                  California Drivers license                                                                                   $0.00


                                                  Timeshare @ The Welk Resort                                                                            $5,000.00


     Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

    28. Tax refunds owed to you
        No
         Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

                                                             2018 (if any) & Prorata 2019 TY income tax
                                                                 refunds, Form 1040, of NO value,
                                                                 subject to setoff, but if So, Right to
                                                                 reimbursemt by Vanessa Montoya                   Federal                                $3,200.00


    Official Form 106A/B                                                 Schedule A/B: Property                                                                page 4
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Filed 04/08/19                                                                            Case 19-21469                                                                                     Doc 20
     Debtor 1        Santo R. Avalos                                                                                                 Case number (if known)        19-21469-D-7


                                                                  2018 (if any) & Prorata 2019 TY income tax
                                                                      refunds, Form 540, of NO value,
                                                                      subject to intercept by IRS, but if So,
                                                                      Right to reimbursemt by Vanessa
                                                                      Montoya                                                               State                                   $150.00


    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
         Yes. Give specific information......

                                                                  2 months arrears, approx
                                                                                                                                            Child Support                         $2,400.00


    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
         No
         Yes. Give specific information..
    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
         No
         Yes. Name the insurance company of each policy and list its value.
                                                 Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                      value:

    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
         No
         Yes. Give specific information..

    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
         Yes.      Describe each claim.........

                                                              Vanesa Montoya, balance of $5000 business buyout of
                                                              "Vanessa's Daycare" per divorce decree                                                                              $3,900.00


    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
         Yes.      Describe each claim.........

                                                              Right to reimbursemt by Vanessa Montoya in the event 2018
                                                              and future tax refunds are set off or intercepted                                                                   $4,000.88


    35. Any financial assets you did not already list
         No
         Yes. Give specific information..

     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................            $25,349.76


     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.


    Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 5
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Filed 04/08/19                                                                                Case 19-21469                                                                                   Doc 20
     Debtor 1         Santo R. Avalos                                                                                                       Case number (if known)   19-21469-D-7
    37. Do you own or have any legal or equitable interest in any business-related property?
        No. Go to Part 6.
        Yes.     Go to line 38.



     Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes.      Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
         No
         Yes. Give specific information.........

     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

     Part 8:         List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
     56. Part 2: Total vehicles, line 5                                                                           $11,000.00
     57. Part 3: Total personal and household items, line 15                                                       $3,910.88
     58. Part 4: Total financial assets, line 36                                                                  $25,349.76
     59. Part 5: Total business-related property, line 45                                                              $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
     61. Part 7: Total other property not listed, line 54                                             +                $0.00

     62. Total personal property. Add lines 56 through 61...                                                      $40,260.64              Copy personal property total              $40,260.64

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $40,260.64




    Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 6
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Filed 04/08/19                                                                  Case 19-21469                                                                             Doc 20
     Fill in this information to identify your case:

     Debtor 1                Santo R. Avalos
                             First Name                         Middle Name                     Last Name

     Debtor 2
     (Spouse if, filing)     First Name                         Middle Name                     Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number           19-21469-D-7
     (if known)
                                                                                                                                             Check if this is an
                                                                                                                                                amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from      Check only one box for each exemption.
                                                                   Schedule A/B

          2012 Ford Fusion SE 130000 miles                                                                                           C.C.P. § 703.140(b)(2)
          Line from Schedule A/B: 3.1
                                                                          $5,500.00                                        $1.00
                                                                                             100% of fair market value, up to
                                                                                                  any applicable statutory limit

          2005 Cadillac Escalade 200000 miles                                                                                        C.C.P. § 703.140(b)(2)
          Non Op Status
                                                                          $5,500.00                                   $5,349.00
          Line from Schedule A/B: 3.2                                                        100% of fair market value, up to
                                                                                                  any applicable statutory limit

          2005 Cadillac Escalade 200000 miles                                                                                        C.C.P. § 703.140(b)(5)
          Non Op Status
                                                                          $5,500.00                                   $2,000.00
          Line from Schedule A/B: 3.2                                                        100% of fair market value, up to
                                                                                                  any applicable statutory limit

          Basic Household goods and                                                                                                  C.C.P. § 703.140(b)(3)
          furnishings, Mainly:
                                                                          $2,150.00                                   $2,150.00
          Couch, Coffee Table, End Table,                                                    100% of fair market value, up to
          Beds, dining set                                                                        any applicable statutory limit
          Dressers, Misc. Wall Decor, Small
          Kitchen
          Appliances, Eating Utinsels, desk
          Washer & Dryer, Refridgerator,
          Groceries, lamps, linen, Chairs,
          Bookcases,
          Line from Schedule A/B: 6.1


    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
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Filed 04/08/19                                                                  Case 19-21469                                                                              Doc 20
     Debtor 1    Santo R. Avalos                                                                             Case number (if known)     19-21469-D-7
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Mainly Television. DVD, Stereo, Blue                                                                                         C.C.P. § 703.140(b)(5)
         Ray Stuff, Laptop Computer
                                                                             $545.00                                  $545.00
         Desktop computer Cell phones,                                                     100% of fair market value, up to
         Tablet Computer,                                                                      any applicable statutory limit
         Line from Schedule A/B: 7.1

         Clothing, Shoes, Sunglasses,                                                                                                 C.C.P. § 703.140(b)(5)
         Line from Schedule A/B: 11.1
                                                                             $215.00                                  $215.00
                                                                                           100% of fair market value, up to
                                                                                               any applicable statutory limit

         Misc. Jewelry, Wedding Rings from                                                                                            C.C.P. § 703.140(b)(4)
         prior marriage
                                                                          $1,000.88                                 $1,600.00
         Line from Schedule A/B: 12.1                                                      100% of fair market value, up to
                                                                                               any applicable statutory limit

         Currency                                                                                                                     C.C.P. § 703.140(b)(5)
         Line from Schedule A/B: 16.1
                                                                              $16.00                                   $16.00
                                                                                           100% of fair market value, up to
                                                                                               any applicable statutory limit

         Checking: Wells Fargo, approximate                                                                                           C.C.P. § 703.140(b)(5)
         balance on 3-11-19
                                                                             $587.00                                $2,000.00
         Line from Schedule A/B: 17.1                                                      100% of fair market value, up to
                                                                                               any applicable statutory limit

         Savings: Wells Fargo, approximate                                                                                            C.C.P. § 703.140(b)(5)
         balance on 3-11-19
                                                                                $0.00                                 $100.00
         Line from Schedule A/B: 17.2                                                      100% of fair market value, up to
                                                                                               any applicable statutory limit

         401(k): Opened October 2016~~,                                                                                               C.C.P. § 703.140(b)(10)(E)
         through employment Family @
                                                                          $4,400.88                                 $6,000.00
         Resoruce & Referral Center                                                        100% of fair market value, up to
         Line from Schedule A/B: 21.1                                                          any applicable statutory limit

         Rental deposit: Landlord Security                                                                                            C.C.P. § 703.140(b)(5)
         Deposit
                                                                          $1,695.00                                 $1,695.00
         Line from Schedule A/B: 22.1                                                      100% of fair market value, up to
                                                                                               any applicable statutory limit

         Timeshare @ The Welk Resort                                                                                                  C.C.P. § 703.140(b)(5)
         Line from Schedule A/B: 27.2
                                                                          $5,000.00                                      $1.00
                                                                                           100% of fair market value, up to
                                                                                               any applicable statutory limit

         Federal: 2018 (if any) & Prorata 2019                                                                                        C.C.P. § 703.140(b)(5)
         TY income tax refunds, Form 1040, of
                                                                          $3,200.00                                 $3,200.00
         NO value, subject to setoff, but if So,                                           100% of fair market value, up to
         Right to reimbursemt by Vanessa                                                       any applicable statutory limit
         Montoya
         Line from Schedule A/B: 28.1

         State: 2018 (if any) & Prorata 2019 TY                                                                                       C.C.P. § 703.140(b)(5)
         income tax refunds, Form 540, of NO
                                                                             $150.00                                  $150.00
         value, subject to intercept by IRS, but                                           100% of fair market value, up to
         if So, Right to reimbursemt by                                                        any applicable statutory limit
         Vanessa Montoya
         Line from Schedule A/B: 28.2


    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 04/08/19                                                                  Case 19-21469                                                                              Doc 20
     Debtor 1    Santo R. Avalos                                                                             Case number (if known)     19-21469-D-7
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Child Support: 2 months arrears,                                                                                             C.C.P. § 703.140(b)(10)(D)
         approx
                                                                          $2,400.00                                 $2,400.00
         Line from Schedule A/B: 29.1                                                      100% of fair market value, up to
                                                                                               any applicable statutory limit

         Child Support: 2 months arrears,                                 $2,400.00                                                  C.C.P. § 703.140(b)(5)
         approx
         Line from Schedule A/B: 29.1                                                         100% of fair market value, up to
                                                                                               any applicable statutory limit

         Vanesa Montoya, balance of $5000                                                                                             C.C.P. § 703.140(b)(5)
         business buyout of "Vanessa's
                                                                          $3,900.00                                 $6,000.00
         Daycare" per divorce decree                                                       100% of fair market value, up to
         Line from Schedule A/B: 33.1                                                          any applicable statutory limit

         Right to reimbursemt by Vanessa                                                                                              C.C.P. § 703.140(b)(5)
         Montoya in the event 2018 and future
                                                                          $4,000.88                                 $4,000.88
         tax refunds are set off or intercepted                                            100% of fair market value, up to
         Line from Schedule A/B: 34.1                                                          any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $160,375?
        (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
               No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            No
            Yes




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 04/08/19                                                                   Case 19-21469                                                                                 Doc 20
     Fill in this information to identify your case:

     Debtor 1                   Santo R. Avalos
                                First Name                      Middle Name                     Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                     Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number           19-21469-D-7
     (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B               Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                                value of collateral.   claim                  If any
             The Golden 1 Credit
     2.1                                                                                                              $8,438.00                $5,500.00          $2,938.00
             Union                                    Describe the property that secures the claim:
             Creditor's Name                          2012 Ford Fusion SE 130000 miles

                                                      As of the date you file, the claim is: Check all that
             P.o. Box 279740                          apply.
             Sacramento, CA 95827                      Contingent
             Number, Street, City, State & Zip Code    Unliquidated
                                                       Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
      Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                           car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another         Judgment lien from a lawsuit
      Check if this claim relates to a                Other (including a right to offset)
           community debt

                                     Opened
                                     11/17 Last
                                     Active
     Date debt was incurred          2/26/19                   Last 4 digits of account number        9705




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
Filed 04/08/19                                                                    Case 19-21469                                                                           Doc 20

     Debtor 1 Santo R. Avalos                                                                                  Case number (if known)   19-21469-D-7
                  First Name                  Middle Name                     Last Name


     2.2    Welk Resort Group                          Describe the property that secures the claim:                  $11,000.88           $5,000.00          $6,000.88
            Creditor's Name
                                                       Timeshare @ The Welk Resort

                                                       As of the date you file, the claim is: Check all that
            8860 Lawrence Welk Dr                      apply.
            Escondido, CA 92026                         Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
           community debt

                                    Opened
                                    12/15 Last
                                    Active
     Date debt was incurred         10/04/17                    Last 4 digits of account number        9788



       Add the dollar value of your entries in Column A on this page. Write that number here:                                 $19,438.88
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                                $19,438.88

     Part 2:    List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




    Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
Filed 04/08/19                                                                       Case 19-21469                                                                                          Doc 20
     Fill in this information to identify your case:

     Debtor 1                   Santo R. Avalos
                                First Name                      Middle Name                        Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                        Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number           19-21469-D-7
     (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                              amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.
     2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
           possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
           Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim          Priority               Nonpriority
                                                                                                                                                 amount                 amount
     2.1          Internal Revenue Service                               Last 4 digits of account number                        $24,533.00              $6,989.00            $17,544.00
                  Priority Creditor's Name
                  PO Box 7346                                            When was the debt incurred?           2011-2012, 2016
                  Philadelphia, PA 19101-7346
                  Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                               Unliquidated
             Debtor 2 only                                               Disputed
             Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

             At least one of the debtors and another                     Domestic support obligations
             Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
            Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                          Other. Specify
             Yes                                                                            Per Divorce Decree, ex wife is to pay

     Part 2:        List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes.
     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 24
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                              48877                                                Best Case Bankruptcy
Filed 04/08/19                                                                    Case 19-21469                                                                           Doc 20
     Debtor 1 Santo R. Avalos                                                                                Case number (if known)        19-21469-D-7

     4.1      Ad Astra Recovery Service                                  Last 4 digits of account number       7517                                            $3,016.00
              Nonpriority Creditor's Name
              7330 W 33rd St N Ste 118                                   When was the debt incurred?           Opened 06/18
              Wichita, KS 67205
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Collection Attorney SPEEDYCASH.COM
               Yes                                                       Other. Specify     94-CA

     4.2      Albert M. Ellsi, Csbn 079996                               Last 4 digits of account number                                                     $15,000.88
              Nonpriority Creditor's Name
              Hakeem Ellis & Marengo                                     When was the debt incurred?
              3414 Brookside Rd., Suite 100
              Stockton, CA 95219
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Divorce Attorney


     4.3      Arrow Financial Service                                    Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              5996 W Touhy Avenue                                        When was the debt incurred?
              Niles, IL 60714
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     @B     Lendup




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 24
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 04/08/19                                                                    Case 19-21469                                                                           Doc 20
     Debtor 1 Santo R. Avalos                                                                                Case number (if known)        19-21469-D-7

     4.4      Brand Source/CITI Cbna                                     Last 4 digits of account number       7637                                            $4,748.00
              Nonpriority Creditor's Name
                                                                                                               Opened 05/17 Last Active
              Po Box 6497                                                When was the debt incurred?           12/24/17
              Sioux Falls, SD 57117
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account


     4.5      Capital One Bank USA                                       Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              4851 Cox Road                                              When was the debt incurred?
              Glen Allen, VA 23060
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.6      Capital One Bank Usa NA                                    Last 4 digits of account number       7394                                            $1,020.00
              Nonpriority Creditor's Name
                                                                                                               Opened 09/11 Last Active
              Po Box 30281                                               When was the debt incurred?           1/02/18
              Salt Lake City, UT 84130
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Credit Card




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 24
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Filed 04/08/19                                                                    Case 19-21469                                                                           Doc 20
     Debtor 1 Santo R. Avalos                                                                                Case number (if known)        19-21469-D-7

     4.7      Citibank, N.A.                                             Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              701 East 60th Street North                                 When was the debt incurred?
              Sioux Falls, SD 57104
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.8      Comenity Bank                                              Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              One Righter Parkway, Suite 100                             When was the debt incurred?
              Wilmington, DE 19803
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.9      Comenity Bank/Pier 1                                       Last 4 digits of account number       0483                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 2/08/14 Last Active
              Po Box 182789                                              When was the debt incurred?           12/16/17
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 24
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Filed 04/08/19                                                                    Case 19-21469                                                                           Doc 20
     Debtor 1 Santo R. Avalos                                                                                Case number (if known)        19-21469-D-7

     4.1
     0        Comenity Bank/PotteryBarn                                  Last 4 digits of account number       1702                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 5/27/17 Last Active
              Po Box 182789                                              When was the debt incurred?           1/16/18
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account


     4.1
     1        Comenity Bank/Torrid                                       Last 4 digits of account number       8228                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 5/07/16 Last Active
              Po Box 182789                                              When was the debt incurred?           11/05/16
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account


     4.1
     2        Comenity Bank/ZGalleri                                     Last 4 digits of account number       8890                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 5/21/17 Last Active
              Po Box 182789                                              When was the debt incurred?           12/31/17
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 24
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Filed 04/08/19                                                                    Case 19-21469                                                                           Doc 20
     Debtor 1 Santo R. Avalos                                                                                Case number (if known)        19-21469-D-7

     4.1
     3        Comenitybank/Hottopic                                      Last 4 digits of account number       7255                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 10/20/16 Last Active
              Po Box 182789                                              When was the debt incurred?           1/08/18
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account


     4.1
     4        Comenitycb/Zales                                           Last 4 digits of account number       5364                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 4/21/15 Last Active
              Po Box 182120                                              When was the debt incurred?           1/04/18
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account


     4.1
     5        Dillard's                                                  Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              P.O. Box 960012                                            When was the debt incurred?
              Orlando, FL 32896-0012
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address




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     Debtor 1 Santo R. Avalos                                                                                Case number (if known)        19-21469-D-7

     4.1
     6        DSNB Macy's                                                Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              9111 Duke Boulevard                                        When was the debt incurred?
              Mason, OH 45040
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.1
     7        First Electronic Bank                                      Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              11781 S. Lone Peak PKWY, #135                              When was the debt incurred?
              Draper, UT 84020
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.1
     8        Gbs/first Electronic Bank                                  Last 4 digits of account number       1762                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 7/24/16 Last Active
              Po Box 4499                                                When was the debt incurred?           1/05/17
              Beaverton, OR 97076
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Credit Card




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     4.1
     9        Hunt & Henriques                                           Last 4 digits of account number                                                             $0.00
              Nonpriority Creditor's Name
              151 Bernal Rd. Suite 8                                     When was the debt incurred?
              San Jose, CA 95119
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Brand Source


     4.2
     0        Kaiser                                                     Last 4 digits of account number                                                         $275.00
              Nonpriority Creditor's Name
              Collection Call Center                                     When was the debt incurred?
              393 East Walnut Street
              Pasadena, CA 91188
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify

     4.2
     1        Kohls/Capone                                               Last 4 digits of account number       3101                                            $3,038.00
              Nonpriority Creditor's Name
                                                                                                               Opened 12/12 Last Active
              N56 W 17000 Ridgewood Dr                                   When was the debt incurred?           1/02/18
              Menomonee Falls, WI 53051
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account




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     4.2
     2        Lendup/Tab Bank                                            Last 4 digits of account number       9094                                              $736.00
              Nonpriority Creditor's Name
                                                                                                               Opened 10/17 Last Active
              225 Bush St                                                When was the debt incurred?           1/04/18
              San Francisco, CA 94104
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Credit Card


     4.2
     3        Macys/DSNB                                                 Last 4 digits of account number       5774                                            $1,823.00
              Nonpriority Creditor's Name
                                                                                                               Opened 08/15 Last Active
              Po Box 8218                                                When was the debt incurred?           12/21/17
              Mason, OH 45040
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account


     4.2
     4        Midland Credit Management                                  Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              P.O. Box 939069                                            When was the debt incurred?
              San Diego, CA 92193
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address




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     4.2
     5        Midland Funding                                            Last 4 digits of account number       0431                                              $873.00
              Nonpriority Creditor's Name
              2365 Northside Drive                                       When was the debt incurred?           Opened 08/18
              San Diego, CA 92108
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account SYNCHRONY
               Yes                                                       Other. Specify     BANK

     4.2
     6        National Credit Adjust                                     Last 4 digits of account number       8728                                            $4,449.00
              Nonpriority Creditor's Name
              P.o. Box 550                                               When was the debt incurred?           Opened 05/18
              Hutchinson, KS 67504
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account RISE CREDIT
               Yes                                                       Other. Specify     OF CALIFORNIA LLC

     4.2
     7        PG&E          pgebankruptcy@pge.com                        Last 4 digits of account number                                                         $910.00
              Nonpriority Creditor's Name
              77 Beale Street                                            When was the debt incurred?
              San Francisco, CA 94105
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify




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     4.2
     8        Planet Fitness                                             Last 4 digits of account number                                                         $130.00
              Nonpriority Creditor's Name
              26 Fox Run Rd,                                             When was the debt incurred?
              Portsmouth, NH 03801
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     @B


     4.2
     9        Portfolio Recovery Associates                              Last 4 digits of account number       8890                                            $3,446.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste 100                                 When was the debt incurred?           Opened 09/18
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account COMENITY
               Yes                                                       Other. Specify     BANK

     4.3
     0        Portfolio Recovery Associates                              Last 4 digits of account number       0483                                            $2,641.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste 100                                 When was the debt incurred?           Opened 08/18
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account COMENITY
               Yes                                                       Other. Specify     BANK




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     4.3
     1        Portfolio Recovery Associates                              Last 4 digits of account number       0261                                            $2,339.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste 100                                 When was the debt incurred?           Opened 10/18
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account CITIBANK
               Yes                                                       Other. Specify     N.A.

     4.3
     2        Portfolio Recovery Associates                              Last 4 digits of account number       1702                                            $2,186.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste 100                                 When was the debt incurred?           Opened 09/18
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account COMENITY
               Yes                                                       Other. Specify     BANK

     4.3
     3        Portfolio Recovery Associates                              Last 4 digits of account number       7878                                            $1,813.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste 100                                 When was the debt incurred?           Opened 08/18
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account SYNCHRONY
               Yes                                                       Other. Specify     BANK




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     4.3
     4        Portfolio Recovery Associates                              Last 4 digits of account number       5364                                              $868.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste 100                                 When was the debt incurred?           Opened 10/18
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account COMENITY
               Yes                                                       Other. Specify     CAPITAL BANK

     4.3
     5        Portfolio Recovery Associates                              Last 4 digits of account number       7255                                              $647.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste 100                                 When was the debt incurred?           Opened 09/18
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account COMENITY
               Yes                                                       Other. Specify     BANK

     4.3
     6        Portfolio Recovery Associates                              Last 4 digits of account number       8228                                              $559.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste 100                                 When was the debt incurred?           Opened 10/18
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account COMENITY
               Yes                                                       Other. Specify     BANK




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     4.3
     7        Portfolio Recovery Associates                              Last 4 digits of account number       0111                                              $414.00
              Nonpriority Creditor's Name
              120 Corporate Blvd Ste 100                                 When was the debt incurred?           Opened 09/18
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Factoring Company Account SYNCHRONY
               Yes                                                       Other. Specify     BANK

     4.3
     8        Portfolio Recovery Associates, LLC                         Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              Attn: Legal Department                                     When was the debt incurred?
              120 Corporate Blvd
              Norfolk, VA 23502
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.3
     9        Prosper Marketplace Inc.                                   Last 4 digits of account number       9159                                                  $1.00
              Nonpriority Creditor's Name
                                                                                                               Opened 04/17 Last Active
              221 Main St Ste 300                                        When was the debt incurred?           5/05/17
              San Francisco, CA 94105
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address




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Filed 04/08/19                                                                    Case 19-21469                                                                           Doc 20
     Debtor 1 Santo R. Avalos                                                                                Case number (if known)        19-21469-D-7

     4.4
     0        Quorum FCU                                                 Last 4 digits of account number       0837                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 12/22/15 Last Active
              2 Manhattanville R                                         When was the debt incurred?           3/17/16
              Purchase, NY 10577
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Credit Card


     4.4
     1        Quorum Fed Credit Union                                    Last 4 digits of account number       4155                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 12/22/15 Last Active
              2 Manhattanville R                                         When was the debt incurred?           4/21/17
              Purchase, NY 10577
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Credit Card


     4.4
     2        QVC                                                        Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              P.O. Box 2254                                              When was the debt incurred?
              West Chester, PA 19380
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address




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     Debtor 1 Santo R. Avalos                                                                                Case number (if known)        19-21469-D-7

     4.4
     3        QVC                                                        Last 4 digits of account number                                                         $124.00
              Nonpriority Creditor's Name
              c/o Penn Credit Corporation                                When was the debt incurred?
              P.O. Box 988
              Harrisburg, PA 17108
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify

     4.4
     4        Rise                                                       Last 4 digits of account number       8728                                                  $0.00
              Nonpriority Creditor's Name
                                                                                                               Opened 11/20/17 Last Active
              4150 International Plaza                                   When was the debt incurred?           1/15/18
              Fort Worth, TX 76109
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Unsecured


     4.4
     5        Speedy / Rapid Cash                                        Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              PO Box 780408                                              When was the debt incurred?
              Wichita, KS 67278
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify




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     Debtor 1 Santo R. Avalos                                                                                Case number (if known)        19-21469-D-7

     4.4
     6        Syncb/Car Care Amer Tire                                   Last 4 digits of account number       1611                                                  $1.00
              Nonpriority Creditor's Name
                                                                                                               Opened 7/30/17 Last Active
              C/o Po Box 965036                                          When was the debt incurred?           7/03/18
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.4
     7        Syncb/Care Credit                                          Last 4 digits of account number       7878                                                  $1.00
              Nonpriority Creditor's Name
                                                                                                               Opened 06/15 Last Active
              C/o Po Box 965036                                          When was the debt incurred?           12/16/17
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.4
     8        Syncb/JCP                                                  Last 4 digits of account number       6478                                            $2,338.00
              Nonpriority Creditor's Name
                                                                                                               Opened 02/14 Last Active
              Po Box 965007                                              When was the debt incurred?           1/16/18
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account




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     4.4
     9        Syncb/TJX Cos                                              Last 4 digits of account number       4326                                                  $1.00
              Nonpriority Creditor's Name
                                                                                                               Opened 05/17 Last Active
              Po Box 965015                                              When was the debt incurred?           11/23/17
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.5
     0        Syncb/ToysRUs                                              Last 4 digits of account number       0111                                                  $1.00
              Nonpriority Creditor's Name
                                                                                                               Opened 08/17 Last Active
              Po Box 965005                                              When was the debt incurred?           12/26/17
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.5
     1        Syncb/Walmart                                              Last 4 digits of account number       8326                                            $1,112.00
              Nonpriority Creditor's Name
                                                                                                               Opened 06/17 Last Active
              Po Box 965024                                              When was the debt incurred?           1/12/18
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Charge Account




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     4.5
     2        Synchrony Bank                                             Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              170 West Election Road, Suite 125                          When was the debt incurred?
              Draper, UT 84020
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.5
     3        TAB Bank                                                   Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              4185 HARRISON BLVD                                         When was the debt incurred?
              Ogden, UT 84403
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.5
     4        Target National Bank                                       Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              TD Bank USA, NA                                            When was the debt incurred?
              2035 Limestone Road
              Wilmington, DE 19808
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address




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     4.5
     5        TD Bank N.A.                                               Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              1000 Macarthur Blvd                                        When was the debt incurred?
              Mahwah, NJ 07430-2035
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.5
     6        Td Bank Usa/TargetCredit                                   Last 4 digits of account number       1926                                            $1,721.00
              Nonpriority Creditor's Name
                                                                                                               Opened 12/15 Last Active
              Po Box 673                                                 When was the debt incurred?           12/22/17
              Minneapolis, MN 55440
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Credit Card


     4.5
     7        The Golden 1 Credit Union                                  Last 4 digits of account number       9704                                            $8,998.00
              Nonpriority Creditor's Name
                                                                                                               Opened 04/17 Last Active
              P.o. Box 279740                                            When was the debt incurred?           1/12/18
              Sacramento, CA 95827
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Unsecured




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     4.5
     8        United States Attorney,                                    Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              (For [Internal Revenue Service])                           When was the debt incurred?
              501 I Street, Suite 10-100
              Sacramento, CA 95814
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address


     4.5
     9        United States Attorney,                                    Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              501 I Street, Suite 10-100                                 When was the debt incurred?           2007
              Sacramento, CA 95814
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                              FNMA, Fannie Mae, MERS, Mr. Cooper,Fee
                                                                                              conveyed per divorce to Vanesa
                                                                                              Montoya,1st D/T on 6406 Clarksburg Place,
                                                                                              Stockton CA
               Yes                                                       Other. Specify     NOTICE ONLY, pre prior CH. 7 $323000


     4.6      United States Department of
     0        Justice,                                                   Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              Civil Trial Section, Western Region                        When was the debt incurred?
              Box 683, Ben Franklin Station
              Washington, DC 20044
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address



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     4.6
     1        Vivint Home Security                                       Last 4 digits of account number                                                         $300.00
              Nonpriority Creditor's Name
              4931 North 300 West                                        When was the debt incurred?
              Provo, UT 84604
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify

     4.6
     2        Welk Resort Group                                          Last 4 digits of account number       9788                                            $1,800.88
              Nonpriority Creditor's Name
                                                                                                               Opened 12/15 Last Active
              8860 Lawrence Welk Dr                                      When was the debt incurred?           10/04/17
              Escondido, CA 92026
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Credit card


     4.6
     3        Wells Fargo Bank N A                                       Last 4 digits of account number                                                             $1.00
              Nonpriority Creditor's Name
              101 N. Phillips Avenue                                     When was the debt incurred?
              Sioux Falls, SD 57104
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                       Other. Specify     Additional Notice Only, Redundant Address




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     4.6
     4         Wf/Dillard                                                Last 4 digits of account number       8124                                            $1,318.00
               Nonpriority Creditor's Name
                                                                                                               Opened 04/13 Last Active
               Po Box 14517                                              When was the debt incurred?           1/08/18
               Des Moines, IA 50306
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                Debtor 1 only                                            Contingent
                Debtor 2 only                                            Unliquidated
                Debtor 1 and Debtor 2 only                               Disputed
                At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
               debt                                                       Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                No                                                       Debts to pension or profit-sharing plans, and other similar debts
                Yes                                                      Other. Specify     Charge Account


     4.6
     5         Zales                                                     Last 4 digits of account number                                                             $1.00
               Nonpriority Creditor's Name
               P.O. Box 9714                                             When was the debt incurred?
               Johnson City, TN 37615
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

                Debtor 1 only                                            Contingent
                Debtor 2 only                                            Unliquidated
                Debtor 1 and Debtor 2 only                               Disputed
                At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
               debt                                                       Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                No                                                       Debts to pension or profit-sharing plans, and other similar debts
                                                                                              @B Additional Notice Only, Redundant
                Yes                                                      Other. Specify     Address

     Part 3:      List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Part 4:      Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                   Total Claim
                            6a.   Domestic support obligations                                                 6a.       $                          0.00
            Total
          claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                         6b.       $                     24,533.00
                            6c.   Claims for death or personal injury while you were intoxicated               6c.       $                          0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                          0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                     24,533.00

                                                                                                                                   Total Claim
                            6f.   Student loans                                                                6f.       $                          0.00
            Total
          claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                        6g.       $                          0.00

    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 23 of 24
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 04/08/19                                                                  Case 19-21469                                                                   Doc 20
     Debtor 1 Santo R. Avalos                                                                            Case number (if known)   19-21469-D-7
                            6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                   0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                                  here.                                                                             $              68,668.76

                            6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $              68,668.76




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 24 of 24
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
Filed 04/08/19                                                                      Case 19-21469                                                                      Doc 20
     Fill in this information to identify your case:

     Debtor 1                 Santo R. Avalos
                              First Name                         Middle Name              Last Name

     Debtor 2
     (Spouse if, filing)      First Name                         Middle Name              Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number           19-21469-D-7
     (if known)
                                                                                                                                           Check if this is an
                                                                                                                                              amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.      Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules.         You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
    2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
            example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
            and unexpired leases.


             Person or company with whom you have the contract or lease                     State what the contract or lease is for
                              Name, Number, Street, City, State and ZIP Code
      2.1
               Name


               Number       Street

               City                                    State                   ZIP Code
      2.2
               Name


               Number       Street

               City                                    State                   ZIP Code
      2.3
               Name


               Number       Street

               City                                    State                   ZIP Code
      2.4
               Name


               Number       Street

               City                                    State                   ZIP Code
      2.5
               Name


               Number       Street

               City                                    State                   ZIP Code




    Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
Filed 04/08/19                                                                       Case 19-21469                                                                   Doc 20
     Fill in this information to identify your case:

     Debtor 1                   Santo R. Avalos
                                First Name                           Middle Name            Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name            Last Name


     United States Bankruptcy Court for the:                 EASTERN DISTRICT OF CALIFORNIA

     Case number           19-21469-D-7
     (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                              12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes
           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                     No
                     Yes.

                           In which community state or territory did you live?              -NONE-          . Fill in the name and current address of that person.


                           Name of your spouse, former spouse, or legal equivalent
                           Number, Street, City, State & Zip Code


       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                          Check all schedules that apply:


        3.1         Vanesa Montoya                                                                           Schedule D, line
                                                                                                             Schedule E/F, line
                                                                                                             Schedule G



        3.2         Vanesa Montoya                                                                           Schedule D, line
                                                                                                             Schedule E/F, line         2.1
                                                                                                             Schedule G
                                                                                                            Internal Revenue Service




    Official Form 106H                                                                  Schedule H: Your Codebtors                                      Page 1 of 2
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Filed 04/08/19                                                           Case 19-21469                                                            Doc 20

     Debtor 1 Santo R. Avalos                                                              Case number (if known)   19-21469-D-7


                Additional Page to List More Codebtors
                 Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
        3.3      Vanesa Montoya                                                                  Schedule D, line
                                                                                                 Schedule E/F, line
                                                                                                 Schedule G
                                                                                                Mr. Cooper, FNMA, Fannie Mae




    Official Form 106H                                                      Schedule H: Your Codebtors                                 Page 2 of 2
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Filed 04/08/19                                                         Case 19-21469                                                                        Doc 20



     Fill in this information to identify your case:

     Debtor 1                      Santo R. Avalos

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number               19-21469-D-7                                                                 Check if this is:
     (If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                                13 income as of the following date:

     Official Form 106I                                                                                         MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                            12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

            If you have more than one job,                               Employed                                  Employed
            attach a separate page with           Employment status
            information about additional                                 Not employed                              Not employed
            employers.
                                                  Occupation            DayCare
            Include part-time, seasonal, or
            self-employed work.                                         Family Resoruce & Referral
                                                  Employer's name       Center
            Occupation may include student
            or homemaker, if it applies.          Employer's address    509 West Wever Ave, Suite 101
                                                                        Status : DIVORCED
                                                                        Stockton, CA 95203

                                                  How long employed there?         Since 2017

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1          For Debtor 2 or
                                                                                                                                non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $         3,532.53        $            0.00

     3.     Estimate and list monthly overtime pay.                                             3.   +$              0.00       +$           0.00

     4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $      3,532.53               $      0.00




    Official Form 106I                                                       Schedule I: Your Income                                                  page 1
Filed 04/08/19                                                       Case 19-21469                                                                           Doc 20


     Debtor 1   Santo R. Avalos                                                                      Case number (if known)    19-21469-D-7


                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse
          Copy line 4 here                                                                     4.        $      3,532.53       $             0.00

     5.   List all payroll deductions:
          5a.   Tax, Medicare, and Social Security deductions                                  5a.       $        235.50       $               0.00
          5b.   Mandatory contributions for retirement plans                                   5b.       $          0.00       $               0.00
          5c.   Voluntary contributions for retirement plans                                   5c.       $        141.31       $               0.00
          5d.   Required repayments of retirement fund loans                                   5d.       $          0.00       $               0.00
          5e.   Insurance                                                                      5e.       $         34.15       $               0.00
          5f.   Domestic support obligations                                                   5f.       $          0.00       $               0.00
          5g.   Union dues                                                                     5g.       $          0.00       $               0.00
                                               May need to increase WH when he
          5h.   Other deductions. Specify:     can afford it                                   5h.+ $                   0.02 + $               0.00
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.    $            410.98       $               0.00
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.    $          3,121.55       $               0.00
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.       $              0.00   $               0.00
          8b. Interest and dividends                                                           8b.       $              0.00   $               0.00
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.       $      1,200.00       $               0.00
          8d. Unemployment compensation                                                        8d.       $          0.00       $               0.00
          8e. Social Security                                                                  8e.       $          0.00       $               0.00
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                   0.00   $               0.00
          8g. Pension or retirement income                                                     8g. $                    0.00   $               0.00
          8h. Other monthly income. Specify:                                                   8h.+ $                   0.00 + $               0.00

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.    $          1,200.00       $                0.00

     10. Calculate monthly income. Add line 7 + line 9.                                    10. $             4,321.55 + $           0.00 = $           4,321.55
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                  0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                     12.   $           4,321.55
                                                                                                                                           Combined
                                                                                                                                           monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
              No.
              Yes. Explain: Throughout This Document set: All items ending with $0.88 are close approximations, ending with
                                  $0.99 are very educated guesses




    Official Form 106I                                                      Schedule I: Your Income                                                     page 2
Filed 04/08/19                                                               Case 19-21469                                                                       Doc 20



      Fill in this information to identify your case:

      Debtor 1                Santo R. Avalos                                                                    Check if this is:
                                                                                                                  An amended filing
      Debtor 2                                                                                                    A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                            13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

      Case number           19-21469-D-7
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                               12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
             No. Go to line 2.
             Yes. Does Debtor 2 live in a separate household?
                   No
                   Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
      2.    Do you have dependents?              No
            Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

            Do not state the                                                                                                                  No
            dependents names.                                                            Son                                  5               Yes
                                                                                                                                              No
                                                                                         Daughter                             5               Yes
                                                                                                                                              No
                                                                                         Son                                  8               Yes
                                                                                                                                              No
                                                                                                                                              Yes
      3.    Do your expenses include                    No
            expenses of people other than
            yourself and your dependents?               Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                       Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                            1,695.00

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                             0.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           115.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




      Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
Filed 04/08/19                                                             Case 19-21469                                                                                   Doc 20


      Debtor 1     Santo R. Avalos                                                                           Case number (if known)      19-21469-D-7

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                     6a. $                                                 249.00
            6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 225.00
            6d. Other. Specify:                                                                    6d. $                                                   0.00
      7.    Food and housekeeping supplies                                                           7. $                                                730.00
      8.    Childcare and children’s education costs                                                 8. $                                                  0.00
      9.    Clothing, laundry, and dry cleaning                                                      9. $                                                200.00
      10.   Personal care products and services                                                    10. $                                                 145.00
      11.   Medical and dental expenses                                                            11. $                                                  50.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                                                 385.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
      14.   Charitable contributions and religious donations                                       14. $                                                   0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                    0.00
            15b. Health insurance                                                                15b. $                                                    0.00
            15c. Vehicle insurance                                                               15c. $                                                  261.00
            15d. Other insurance. Specify:                                                       15d. $                                                    0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify: Payment plan for priority taxes                                               16. $                                                  75.99
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                                  189.00
            17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
            17c. Other. Specify:                                                                 17c. $                                                    0.00
            17d. Other. Specify:                                                                 17d. $                                                    0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
      19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                     0.00
            20b. Real estate taxes                                                               20b. $                                                     0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
      21.   Other: Specify:                                                                        21. +$                                                   0.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                     $                       4,319.99
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,319.99
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,321.55
          23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,319.99

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                                    1.56

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
             No.
             Yes.              Explain here: $250 a month from ex wife business buyout is the Contingency/Recreation budget




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 04/08/19                                                                Case 19-21469                                                                       Doc 20




     Fill in this information to identify your case:

     Debtor 1                    Santo R. Avalos
                                 First Name                     Middle Name             Last Name

     Debtor 2
     (Spouse if, filing)         First Name                     Middle Name             Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number              19-21469-D-7
     (if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                        12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


                   No

             Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Santo R. Avalos                                                       X
                  Santo R. Avalos                                                           Signature of Debtor 2
                  Signature of Debtor 1

                  Date       April 7, 2019                                                  Date




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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